Case 3:21-cr-00042-JAG

®AO 187 (Rev. 7/87) Exhibit and Witness List

Document 30-1 Filed 07/26/21 Page 1 of 2 PagelD# 119

UNITED STATES DISTRICT COURT

EASTERN

DISTRICT OF VIRGINIA-RICHMOND DIVISION

United States
V.

Keith Rodney Moore

EXHIBIT AND WITNESS LIST

Case Number: 3:21CV42

PRESIDING JUDGE

Gibney

PLAINTIFF’S ATTORNEY
Elliker

DEFENDANT’S ATTORNEY
Koenig

COURT REPORTER

COURTROOM DEPUTY
Tuck

July 26, 2021

G. Halasz, OCR

DEF.
NO.

DATE

OFFERED | MARKED

ADMITTED

DESCRIPTION OF EXHIBITS* AND WITNESSES

(Dominic. Cdlumho, OFicec, Kichmond PD

SHI shot fom ody Cameras white codalla

photo af car compuder screen

ohets of acoura wy came.: tag

‘body cam footage, - 21nd Stop

body com - 2rd ‘stop

IG OT LEN [yp < BE
S15 RP ty

photo O\ VN

CYOSS

Map

ie 2
XN

ah

SKE KIAISAININ

disc - body COLMerae.

q

Keegan Milt \ls, Afficor, Richmond PD

alrtody ad mitted

Dod cam cf wrtmss at habfic Stop

BS

body Gam frotaae, ot lock up

| polar K

Css

Map rf U pretunets

Y
/

eo of traffic Stop

(Cord cf videos deviviloniiod

Y

0502 Net viewer event 10

|

O57, Net Newer evert 1

NIC IKE IC EN dF

V2 Ol4<

J

(515 Net vidwer-event infd

* Include a notation as to the location of any exhibit not held wi

th the case file or not available because of size.

Page | of 1|

i
AO 187A (Rev

. 7/87)

Case 3:21-cr-00042-JAG Document 30-1 Filed 07/26/21 Page 2 of 2 PagelD# 120

EXHIBIT AND WITNESS LIST —- CONTINUATION

CASE NO,

USA vs. Moore 21 ped
4x O519 Net wewer Cvent info
| H pad cam footage
+S BF 0304S expired tagd
4 Jacob Torees Officer, “Richmond PD
Y S| ~ body cam of wriness
\0 A | tag from vehicle
/ Makio Wiliams officor, Richmond PD
lO yY
[2 Ae body Cam from vortness - Bra Shp
\9 A Y documents found in venicle
J ~ tr Bad
A et OAT NetVviewer Event info
hs *
(4 *
“ Viichagl Spinos, yeti ved officer, Lichmord
er
(| fe bedy cam footage this vortness
S John Gilert officer, Richmond PD
It | uf ~% body cam Footage fawn iS Witness
Y Lee lush
Pr | ow Copies of summons/tivots
ae J ff documents vetumed on subpoena ©: traf ficstpp
& J O574 net vieuey event info
| JZ UWA Recial dot map
R7| A S l{
Xs ates
Yaly2| 4] seveen shot OF ponce Steps, yrace.

Page of Pages

